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 1   NICOLA T. HANNA
     United States Attorney
 2   LAWRENCE S. MIDDLETON
     Assistant United States Attorney
 3   Chief, Criminal Division
     ANDREW BROWN (Cal. Bar No. 172009)
 4   Assistant United States Attorney
     Major Frauds Section
 5        1100 United States Courthouse
          312 North Spring Street
 6        Los Angeles, California 90012
          Telephone: (213) 894-0102
 7        Facsimile: (213) 894-6269
          E-mail:    andrew.brown@usdoj.gov
 8   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
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10                          UNITED STATES DISTRICT COURT

11                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,              No. CR 18-834-AB

13             Plaintiff,                  XXXXXXXXXX
                                            [PROPOSED] ORDER SETTING TRIAL
                                            DATE AND EXCLUDING TIME
14                   v.

15   JEFFREY CRAIG YOHAI,

16             Defendant.

17

18        The Court has read and considered the Stipulation to Set Trial
19   Date and Exclude Time filed contemporaneously by the parties.            The
20   Court hereby finds that the Stipulation, which this Court
21   incorporates by reference into this Order, demonstrates facts that
22   support a continuance of the trial date in this matter, and provides
23   good cause for a finding of excludable time pursuant to the Speedy
24   Trial Act, 18 U.S.C. § 3161.
25        The Court further finds that:         (i) the ends of justice served
26   by the continuance outweigh the best interest of the public and
27   defendant in a speedy trial; (ii) failure to grant the continuance
28   would be likely to make a continuation of the proceeding impossible,

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 1   or result in a miscarriage of justice; and (iii) failure to grant

 2   the continuance would unreasonably deny defendant continuity of

 3   counsel and would deny defense counsel the reasonable time necessary

 4   for effective preparation, taking into account the exercise of due

 5   diligence.

 6        THEREFORE, FOR GOOD CAUSE SHOWN:

 7        1.      The trial in this matter is set for March 19, 2019.         The

 8   status conference hearing is continued to February 22, 2019.

 9        2.      The time period from January 24, 2019, to March 19, 2019,

10   inclusive, is excluded in computing the time within which the trial

11   must commence, pursuant to 18 U.S.C. § 3161(h)(7)(A).

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 1        3.      Nothing in this Order shall preclude a finding that other

 2   provisions of the Speedy Trial Act dictate that additional time

 3   periods are excluded from the period within which trial must

 4   commence.    Moreover, the same provisions and/or other provisions of

 5   the Speedy Trial Act may in the future authorize the exclusion of

 6   additional time periods from the period within which trial must

 7   commence.

 8        IT IS SO ORDERED.

 9
      1/25/2019
10    DATE                                      UNITED STATES DISTRICT JUDGE
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     Presented by:
14        /s/
      ANDREW BROWN
15    Assistant United States Attorney
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